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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

ANGEL BUSTOS-AGUIRRE, et al.,

      Defendants.                                         No. 04-CR-30029-DRH


                                    ORDER


HERNDON, District Judge:

            Now before the court is Defendant Johnny Johnson’s Fourth Motion to

Continue Sentencing (Doc. 268). In light of defendant Johnson’s agreement to

provide testimony for the government at the trial of Quawntay Adams and the recent

continuance of this trial until March 12, 2007, defendant Johnson wishes to

continue sentencing until after the conclusion of the Quawntay Adams trial.

Therefore, the Court GRANTS Johnson’s Motion to Continue (Doc. 268). The Court

CONTINUES the sentencing hearing for defendant Johnny Johnson scheduled for

September 22, 2006, to April 20, 2007 at 9:30 a.m.

            IT IS SO ORDERED.

            Signed this 13th day of September, 2006.


                                                    /s/        David RHerndon
                                                    United States District Judge
